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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                  Case No. 18-cv-21755-KMW

  JOHN LOUIS RAMOS,

           Plaintiffs,

  vs.

  SECRETARY,
  DEPARTMENT OF CORRECTIONS, et al,

           Defendants.
                                 /

                                               ORDER

           THIS MATTER is before the Court on Magistrate Judge Lisette M. Reid’s report

  and recommendation (DE 19) (“Report”) regarding Plaintiff’s petition for writ of habeas

  corpus. No objections to the Report were filed. Upon an independent review of the

  Report, the record, and applicable case law, it is ORDERED AND ADJUDGED that:

        1. The conclusions in the Report (DE 19) are AFFIRMED AND ADOPTED.

        2. This action is DISMISSED.

        3. No certificate of appealability shall issue.

        4. All pending motions are DENIED AS MOOT.

        5. The Clerk is directed to CLOSE this case.

           DONE AND ORDERED in Chambers in Miami, Florida, this 20th day of October,

  2020.
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  cc:
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